Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 1 of 14   PageID 585
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 2 of 14   PageID 586
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 3 of 14   PageID 587
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 4 of 14   PageID 588
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 5 of 14   PageID 589
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 6 of 14   PageID 590
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 7 of 14   PageID 591
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 8 of 14   PageID 592
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 9 of 14   PageID 593
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 10 of 14   PageID 594
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 11 of 14   PageID 595
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 12 of 14   PageID 596
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 13 of 14   PageID 597
Case 4:06-cv-00449-A   Document 45   Filed 10/26/07   Page 14 of 14   PageID 598
